Case 3:99-cv-03018-CBK Document 166 Filed 11/26/01 Page 1 of 4 PagelD #: 1067

FILED

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF SOUTH DAKOTA

CENTRAL DIVISION

SOUTH DAKOTA FARM BUREAU, INC.;
SOUTH DAKOTA SHEEP GROWERS
ASSOCIATION, INC.; HAVERHALS
FEEDLOT, INC.; SIOVALL FEEDYARD,
INC.; FRANK D. BROST; DONALD
TESCH; WILLIAM A. AESCHLIMANN;
SPEAR H RANCH, INC.; and

MARSTON HOLBEN

Plaintiffs,

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v. ) No. 99-CV-3018 CK
}

STATE OF SOUTH DAKOTA; )

MARK. W. BARNETT, in his official )

capacity as Attorney General of )

South Dakota; and JOYCE )

HAZELTINE, in her official )

capacity as Secretary of State )

of South Dakota, )
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)

Defendants.

DAKOTA RURAL ACTION; AND
SOUTH DAKOTA RESOURCES COALITION

Deiendant- Intervenors

DEFENDANT-INTERVENORS’ TRIAL EXHIBIT LIST

Defendant-Intervenors hereby list the following trial exhibits with copies

provided:

Case 3:99-cv-03018-CBK Document 166 Filed 11/26/01 Page 2 of 4 PagelD #: 1068

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“A time to Act” Report of the USDA Commission on Small F arms, Jan. 1998

“A Time to Choose” Summary report on the Structure of Agricul.ture, USDA
1981

South Dakota Agriculture; 1998-1999
1997 Census of Agriculture, South Dakota

South Dakota Legislature Resource Council Issue Memorandum 98-17,
Amendment E

Curriculum Vitae Lawrence Cahoon

Curriculum Vitae Bradford Barham

Amendment E Petition

South Dakota Resources Coalition “Amendment E”

Vote YES! for the Future of Family Farms

Vote Yes for the Future of Family Farms

Yes! on Amendment E — Facts Getting Lost in the Shuffle
1998 Ballot Question Pamphlet Constitutional Amendment E
Amendment “E” tra

Amendment “E” tra, March 1998

Corporate Farming and Corporate Farming Restrictions in Nebraska
It’s Time to Get the Facts on Amendment E - D.R.A.

Crop and Livestock Production Under Amendment E— D.R.A.
Competition in the Livestock Market

Dakota Farmer, Oct. 1998

and any trial exhibit similarly listed by the Plaintiffs or the State.

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Case 3:99-cv-03018-CBK Document 166 Filed 11/26/01 Page 3 of 4 PagelD #: 1069

Dated: Nor. / Z LLP/

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Resources Coalition
Case 3:99-cv-03018-CBK Document 166 Filed 11/26/01 Page 4 of 4 PagelD #: 1070

CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and correct copy of DEFENDANT
INTERVENORS’ TRIAL WITNESS LIST and TRIAL EXHIBIT LIST in the case of South
Dakota Farm Bureau et al. v. State of South Dakota, Barnett & Hazeltine, was served by
United States mail, first class, postage prepaid upon:

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on this Nineteenth day of November, 2001

